      Case 2:19-cr-00300-JCM-EJY Document 183 Filed 01/11/21 Page 1 of 3

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      Attorney for Defendant
 
      Reymund Baluyut
  
                              UNITED STATES DISTRICT COURT
  
                                   DISTRICT OF NEVADA
  
          UNITED STATES OF AMERCIA,                      2:19-cr-00300-JCM-EJY


                          Plaintiff,              STIPULATION TO CONTINUE

          vs.                                              SENTENCING

       REYMUND DE LOS SANTOS                            (Second Request)
       BALUYUT,

                          Defendant.


 
                IT IS HEREBY STIPULATED AND AGREED, by and between
 
      Nicholas A. Trutanich, United States Attorney, and Simon Kung, Assistant
 

   United States Attorney, counsel for the United States of America, and

      William H. Brown, Esq., of BROWN MISHLER, PLLC, counsel for defendant



      Reymund Baluyut, that the sentencing hearing currently scheduled for

   January 20, 2021, at 10:00 a.m., be vacated and continued sixty (60) days to

      March 22, 2021, or alternatively to a subsequent date and time convenient to


    the Court.
 
                This Stipulation is entered for the following reasons:


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      Case 2:19-cr-00300-JCM-EJY Document 178
                                          183 Filed 12/29/20
                                                    01/11/21 Page 2 of 3

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             1.   This is the second requested continuance for sentencing.

           2.   Defense counsel seeks additional time to research and investigate
 
      potential sentencing issues.
 

           3.   Defendant is out of custody and does not object to the need to
 
      continue sentencing.
  
             4.   The government agrees to the requested continuance.
  

            This is the second request for a continuance of sentencing.

             Date: December 29, 2020



          Counsel for REYMUND BALUYUT            NICHOLAS A. TRUTANICH
                                                 United States Attorney


       /s/ William Brown                      /s/ Simon Kung
          WILLIAM H. BROWN                       SIMON KUNG
       BROWN MISHLER, PLLC                    Assistant United States Attorney
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      Case 2:19-cr-00300-JCM-EJY Document 183 Filed 01/11/21 Page 3 of 3

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      Attorney for Defendant
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      Reymund Baluyut
  
                             UNITED STATES DISTRICT COURT
  
                                  DISTRICT OF NEVADA
  
          UNITED STATES OF AMERCIA,                     2:19-cr-00300-JCM-EJY


                         Plaintiff,                ORDER CONTINUING

          vs.                                          SENTENCING DATE

       REYMUND DE LOS SANTOS
       BALUYUT,

                         Defendant.


              Based on the pending stipulation of counsel, and good cause appearing
 
      therefore, the Court hereby vacates the current sentencing date of January
 

   20, 2021, at 10:00 a.m., and continues the date sixty (60) days, such that the
                                 March 24, 2021 at 10:00 a.m
      new sentencing date shall be _________________________________.


                   January
                DATED this ___ 11,
                               day2021.
                                   of December, 2020.



                                         UNITED STATES DISTRICT JUDGE


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